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1                     UNITED STATES DISTRICT COURT
2                          DISTRICT OF NEVADA

3    UNITED STATES OF AMERICA,                        Case No. 2:17-cr-228-KJD-NJK

4                  Plaintiff,

5           v.

6    LAMORSE COMPTON, JR.,

7                  Defendant.

8

9         [Proposed] Order Granting Stipulation to Extend Deadline Regarding Defendant

10       Compton’s Motion for Bill of Particulars and/or Motion to Dismiss the Indictment

11          Based on the pending stipulation of the parties, and good cause appearing, the

12   stipulation is hereby GRANTED.

13          IT IS HEREBY ORDERED that the deadline for the Government’s response to

14   Defendant Compton’s motion filed at ECF 77 be extended to November 16, 2020; and

15          IT IS FURTHER ORDERED that the deadline for any reply by Defendant

16   Compton be extended to November 30, 2020.

17          DATED this ______ 2,
                  November    day of _____________, 2020.
                                 2020

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                                            HONORABLE NANCY J. KOPPE
20                                        UNITED STATES MAGISTRATE JUDGE

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